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   8                            UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
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  11    HOWARD ITEN,                                    No. 2:21-cv-00486-DDP-JEMx
  12                          Plaintiff,                        ORDER
                                                     GRANTING AMENDED BRIEFING
  13           v.                                      SCHEDULE ON MOTION TO
                                                        DISMISS AMENDED AND
  14    COUNTY OF LOS ANGELES,                        SUPPLEMENTAL COMPLAINT
  15                          Defendant.          Motion to Dismiss Filed: October 12, 2021
                                                  Opposition Due: November 1, 2021
  16                                              Reply Currently Due: November 8, 2021
                                                  New Reply Due Date: November 15, 2021
  17                                              Hearing Date: November 22, 2021
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  19          IT IS HEREBY ORDERED:
  20          Defendant shall file its reply to Plaintiff’s opposition to the motion to dismiss
  21   on or before November 15, 2021.
  22          IT IS FURTHER ORDERED: The Motion to Dismiss First Amended
  23   Complaint [33] is continued from November 22, 2021 to December 6, 2021 at 10:00
  24   a.m. All briefs shall be filed by the dates indicated in this Court’s prior Order.
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  26          DATED: October 15, 2021.                ____________________________
                                                      DEAN D. PREGERSON
  27                                                  United States District Judge
  28
       Order
       No. 2:21-cv-00486-DDP-JEMx                1
